                                          PILOT TRAVEL CENTERS
                                                            LLC



                                                                      FIXING J,



               January 17,2012
               Mr. James Subler
               Classic Carriers
               151 Industrial Parkway
               Versailles, OH 45380                               .

               Dear Jim,

               Pilot Flying J is going to modify your direct bill payment cycle with the changes occurring
               Monday, January 23,2012.

               Purchases made Monday through Wednesday will be invoiced on Thursday and Pilot will initiate
               payment on the following Wednesday and will come out of your account Thursday. The
               purchases made Thursday through Sunday will be invoiced on Monday with the draft being
               initiated on Friday and the funds will come out of your account on the following Monday.
               Payment terms must be met and all drafts must clear or Pilot Flying J has the right to change the
               payment terms

               Pilot Flying J expects to gain an additional 20,000 gallons a month and will provide ramp up
               period ending April 1.2012. At the conclusion of that ramp up period we will review your
               volume progress and agree to keep the discount pricing in place or change the discount structure.
               With the payment terms being addressed along with cost of fuel we look forward to earning more
               of your business.


               Respectful


               John Spiewak
               Regional Sales Manager
               Pilot Flying




               cc:    Jerry Beets, Director of Credit, Pilot Flying J
                      Arnie Ralenkotter, Director of Sales, Pilot Flying J
                      John Freeman, Vice President of Sales, Pilot Flying J




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